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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

FRANCES J. BELISLE,

     Plaintiff,

v.                                                   Case No. 3:18-cv-514-MHL

LAURA BAXTER, MICHAEL
WHITTINGTON,

     Defendants.

                                STIPULATION OF DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Francis J. Belisle

and Defendants Laura Baxter and Michael Whittington, by and through their respective

undersigned counsel, hereby stipulate and agree that this action shall be DISMISSED WITH

PREJUDICE. The parties further agree each party will bear their own attorneys’ fees, expenses

and costs and that neither party will be deemed a prevailing party. This matter should be

dismissed in its entirety and stricken from the docket.


Respectfully Submitted,

/s/Steven S. Biss                                      /s/ Jeremy D. Capps
Steven S. Biss (VSB No. 32972)                         Jeremy D. Capps (VSB No. 43909)
300 West Main Street, Suite 102                        Harman, Claytor, Corrigan & Wellman
Charlottesville, VA 22903                              P.O. Box 70280
804-501-8272 - Phone                                   Richmond, Virginia 23255
202-318-4098 - Fax                                     804-747-5200 - Phone
stevenbiss@earthlink.net                               804-747-6085 - Fax
Counsel for Plaintiff                                  jcapps@hccw.com
                                                       Counsel for Defendant




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